                                                                                                                                                 4/18/24 11:41AM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Eastern WA Construction, Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1564 Swartout Rd
                                  Manson, WA 98831
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Chelan                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  51 Phoebe Ln (14 unit condo) Manson, WA 98831
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Eastern WA Construction, Inc                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Eastern WA Construction, Inc                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Eastern WA Construction, Inc                                                Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Eastern WA Construction, Inc                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 16, 2024
                                                  MM / DD / YYYY


                             X /s/ Jorge Ochoa                                                            Jorge Ochoa
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Metiner G. Kimel                                                        Date April 16, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Metiner G. Kimel
                                 Printed name

                                 Kimel Law Offices
                                 Firm name

                                 205 N. 40th Ave., Suite 205
                                 Yakima, WA 98908
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (509) 452-1115                Email address      mkimel@mkimellaw.com

                                 21280 WA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Eastern WA Construction, Inc
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Allied Activities, Inc                                                                                    $933,182.52                        $0.00            $933,182.52
 8836 W. Gage Blvd.
 Ste. 201A
 Kennewick, WA
 99336
 Christensen, Inc                                                                                           $79,831.87                        $0.00              $79,831.87
 10060 Jadwin Ave
 09935-2000
 Dept Of Revenue                                                                                            $22,429.58                        $0.00              $22,429.58
 3315 S 23rd St, Ste
 300
 Tacoma, WA 98405
 IRS Centralized                                                                                           $144,394.35                        $0.00            $144,394.35
 Insolvency
 PO Box 21126
 Philadelphia, PA
 19114-0326
 Joe Park                                                                                                   $41,048.89                        $0.00              $41,048.89
 Construction L.L.C.
 PO Box 527
 Yakima, WA 98907
 Jon Breiling and                                                                                           $27,435.43                        $0.00              $27,435.43
 Michelle Breiling
 c/o Gatens Green
 Weidenbach, PLLC
 PO Box 533
 Cashmere, WA
 98815
 PACE Engineers,                                                                                                                                                   $2,573.00
 Inc
 11255 Kirkland Way,
 Suite 300
 Kirkland, WA 98033
 Tamari's Properties                                                                                       $474,200.00                        $0.00            $474,200.00
 LLC
 238 246th Way SE
 Sammamish, WA
 98074

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    Eastern WA Construction, Inc                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Tri-Talent Funding                                                                                     $4,500,000.00                         $0.00          $4,500,000.00
 Group Inc.
 8555 SW Apple Way,
 No. 330
 Portland, OR 97225




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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                                                      United States Bankruptcy Court
                                                           Eastern District of Washington
 In re    Eastern WA Construction, Inc                                                                            Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Jorge Ochoa                                                 single class          no stock actually issued                   100% owner
1564 Swartout Rd
Manson, WA 98831


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date April 16, 2024                                                      Signature /s/ Jorge Ochoa
                                                                                        Jorge Ochoa

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




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                                               United States Bankruptcy Court
                                                    Eastern District of Washington
 In re   Eastern WA Construction, Inc                                                             Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     April 16, 2024                                 /s/ Jorge Ochoa
                                                         Jorge Ochoa/President
                                                         Signer/Title




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                       Eastern WA Construction, Inc
                       1564 Swartout Rd
                       Manson, WA 98831



                       Metiner G. Kimel
                       Kimel Law Offices
                       205 N. 40th Ave., Suite 205
                       Yakima, WA 98908



                       Allied Activities, Inc
                       8836 W. Gage Blvd. Ste. 201A
                       Kennewick, WA 99336



                       Christensen, Inc
                       10060 Jadwin Ave
                        09935-2000



                       Clay M. Gatens
                       Gatens Green Weidenbach, PLLC
                       PO Box 533
                       Cashmere, WA 98815



                       Dept Of Revenue
                       3315 S 23rd St, Ste 300
                       Tacoma, WA 98405



                       G. Charley Bowers
                       Rettig Forgette Iller Bowers, LLP
                       8836 W. Gage Blvd. Ste. 201A
                       WA 99226



                       IRS Centralized Insolvency
                       PO Box 21126
                       Philadelphia, PA 19114-0326



                       Joe Park Construction L.L.C.
                       PO Box 527
                       Yakima, WA 98907



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                   Jon Breiling and Michelle Breiling
                   c/o Gatens Green Weidenbach, PLLC
                   PO Box 533
                   Cashmere, WA 98815



                   Larson Griffee & Perkins
                   105 N 3rd St
                   PO Box 550
                   Yakima, WA 98907



                   PACE Engineers, Inc
                   11255 Kirkland Way, Suite 300
                   Kirkland, WA 98033



                   Ries Law Firm, P.S.
                   1340 E Hunter PL
                   Moses Lake, WA 98837



                   Tamari's Properties LLC
                   238 246th Way SE
                   Sammamish, WA 98074



                   Tri-Talent Funding Group Inc.
                   8555 SW Apple Way, No. 330
                   Portland, OR 97225




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                                          United States Bankruptcy Court
                                              Eastern District of Washington
 In re   Eastern WA Construction, Inc                                                  Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Eastern WA Construction, Inc in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Jorge Ochoa
1564 Swartout Rd
Manson, WA 98831




  None [Check if applicable]




April 16, 2024                                   /s/ Metiner G. Kimel
Date                                             Metiner G. Kimel
                                                 Signature of Attorney or Litigant
                                                 Counsel for Eastern WA Construction, Inc
                                                 Kimel Law Offices
                                                 205 N. 40th Ave., Suite 205
                                                 Yakima, WA 98908
                                                 (509) 452-1115 Fax:(509) 965-5860
                                                 mkimel@mkimellaw.com




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